
PER CURIAM.
The relator was duly tried and convicted upon a charge of having been off from his post, and thereupon dismissed from the police force of the park department. Upon his trial he admitted that, when found by his superior officer, he *864was’four blocks away from his post, but claimed that he had left his post to attend a call of nature. There was some evidence which cast doubt upon the sincerity of the claim, but, assuming the truth of the relator’s statement, he was still guilty of a violation of the rule of the department, which in such a case made it his duty to call on, and temporarily resign his duty to, some other member of the force. No excuse or explanation was given by him why he had not complied with the rule in this particular. The conviction therefore rests upon sufficient evidence, and, that being so, we cannot reverse the proceeding for the sole reason that in our judgment a less severe punishment should have been inflicted. The determination^ the board of commissioners must be confirmed, with $50 costs and disbursements.
